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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO




UNITED STATES OF AMERICA,

                        Plaintiff,

vs.
                                                                    CR No. 05-1849 JH

DANA JARVIS,

                        Defendant.



  DEFENDANT JARVIS’ MOTION FOR RELIEF FROM INTERFERENCE
  WITH HIS RIGHT TO PRESENT HIS DEFENSE DUE TO CONTINUOUS
IRREGULARITIES IN THE ELECTRONIC CASE DOCKETING, INCLUDING
       DEFENDANT’S INACCESSIBILITY TO HIS OWN DOCKET

         COMES NOW the Defendant DANA JARVIS, by and through co-counsel of

record, Gary Mitchell and Jody Neal-Post, and pursuant to the Fifth and Sixth Amendments

to the United States Constitution, hereby requests this Court provide immediate remedy in

the form of constitutionally adequate access to the Defendant’s electronic docket, such that

counsel can provide timely and effective assistance to Mr. Jarvis so that the Defendant’s

Sixth Amendment right to present a defense can be actualized.

         As grounds, Mr. Jarvis states as follows.

                                           Legal Authorities

         Two hundred and one years ago, Chief Justice Marshall, presiding over the treason

trial of Aaron Burr, interpreted the Sixth Amendment’s Compulsory Process Clause,

commonly called the defendant’s “right to present a defense,” as guaranteeing a criminal

accused the right to secure papers material to his defense. United States v. Aaron Burr,
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25 F. Cas. 30, 35 (U.S. Court of Appeals 1807); accord United States v. Hubbell, 530 U.S. 27, 55

(2000, citing United States v. Nixon, 418 U.S. 683, 711, 41 L. Ed. 2d 1039, 94 S. Ct. 3090

(1974). It is indisputable that the documents filed in a defendant’s own criminal proceedings

meet the criteria for Sixth Amendment compulsory process as being “material” to the

Defendant’s presentation of his chosen defense.

    Docket Improprieties & Interference with Docket Access in the Present Case

        This present action is over two and one half years into litigation. As of today, there

should appear at least 1225 entries on the docket. Counsel states “should appear at least”

because counsels still cannot access the entire docket, not even the entire docket of

pleadings that materially affect Mr. Jarvis. See Ex. A, excerpt of today’s docket, showing

only 1224 entries. Counsels know there should be at least 1225 entries because electronic

notice was sent to Mr. Jarvis’ counsels today of ex parte matters under a title revealing

confidential information. Although the title of Doc.1224 reveals the confidential disclosures,

neither counsel for Mr. Jarvis can open this document. The document was also served on

Mr. Davidson, joint CJA defense counsel, who has no need to know its contents, as well as

being served on Mr. Cliff McIntyre, former counsel for Mr. Jarvis whom the United States

succeeded in conflicting out of Mr. Jarvis’ representation two years ago, and who similarly has

no need to know the contents of this document.

        That this issue is of constitutional importance rather than a mere administrative or

clerical issue is brought home by the fact that Mr. Jarvis’ pending Motion to Dismiss has

been heavily impacted by litigation over an improper electronic filing over two years ago, the

filing of Docket 314 by a counsel who had never entered an appearance on Mr. Jarvis’

behalf. See e.g. this Court’s Order at Doc. 1217; also Doc. 324; Doc. 329. But for the failure in the

electronic filing system allowing a motion to be filed without an entry of appearance, the



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United States could never have argued the offending counsel who filed Doc. 314 would

never have entered his appearance, the most litigated aspect of Mr. Jarvis’ Motion to

Dismiss.

       This Court has been aware of electronic filing problems since the Doc. 314 matter in

January 2006. That the Court is aware of the continuing and unresolved nature of the

electronic docket problems is reflected in the November 20, 2007 hearing on the

Defendant’s Motion to Dismiss which reflects a substantial colloquy with Mr. Jarvis’ defense

counsel regarding counsel’s lack of access to Mr. Jarvis’ own docket. See T.P. 11/20/07 (J.

Herrera); pp. 12:15- 14:18:

               Ms. Neal-Post: Just for the Court’s information, I as co-
               counsel cannot get into these pleadings (ex parte) either, so I
               can’t always find the docket number. …the clerk’s office is
               aware that co-counsel cannot access any sealed pleadings
               either, and when I pull it up on the docket I don’t even see
               any entries, so we are having a lot of difficulty with the
               electronic filing,….

               There is also an issue with some of the filings. Sometimes
               the filings have what I call a file stamp across the top, but
               sometimes they don’t and so the United States and myself
               have adopted a way around this so that we can try and make
               sure that we get service, and they mailed me service which
               was, you know, much appreciated, but the particular
               document that I was mailed didn’t have a file stamp on it
               despite that fact that it was a filed document, so, there are lots
               of issues…


       Mr. Jarvis has advised the Court directly as noted above. Mr. Jarvis has sought

administrative correction through the District Court clerks in Albuquerque and Las Cruces

and through the Court’s chambers, the later in response to receiving faxes of orders

numbered Doc. 1215 and 1216 which Mr. Jarvis’ counsel could not otherwise access.

Exhibit A, printed out from undersigned counsel Neal-Post’s Pacer ID number, illustrates

that Counsel cannot otherwise access these orders material to Mr. Jarvis - in fact, Mr. Jarvis’


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counsels cannot even verify the orders that pertain to him or what those docket entries were,

the exhibit showing that no entries exist on the docket for the orders faxed to counsel by the

Court.

         Due process requires notice. Notice must be constitutionally adequate and verifiable.

The Tenth Circuit has found in the context of necessary pleadings (an 851 enhancement)

“that when an error of a non-clerical nature is made which might negatively implicate proper

notice of an enhancement or a meaningful opportunity to be heard, this and at least three

other circuits consider whether the defendant was prejudiced by the error.”United States v.

Castro-Portillo, 211 Fed. Appx. 715, 725-26 (10th Cir. 2007). Mr. Jarvis has ample record

evidence already of prejudice stemming from Doc. 314. A meaningful opportunity to be

heard in this circumstance is a meaningful opportunity to present a defense. To effectuate

this Sixth Amendment right, Mr. Jarvis needs his own access to all the documents in his own

case.

         As to sealed pleadings the United States was a party to, the United States has

attempted a practical work-around, which although appreciated as are the Court’s work-

around efforts, falls short of constitutionally minimum notice and access to the material

documents necessary for the defendant’s preparation of his defense. Specific examples of

instances of the impairment of the fundamental fairness of these proceedings are as follows,

beginning at the present and working in reverse chronological order:

         1.     Mr. Jarvis has newly appointed co-counsel who arrived in this case by this

Court’s order at Doc. 1211. Mr. Mitchell is “desperately” trying to bring himself familiar

with his client’s case but can neither access the sealed and or ex parte pleadings relating to Mr.

Jarvis, nor can he even access a master list (the complete docket relating to Mr. Jarvis) to

know documents exist that he can’t access. Meanwhile the case continues in a period of



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constitutionally inadequate representation by Mr. Mitchell upon circumstances outside Mr.

Mitchell’s and Ms. Neal-Post’s control- systemic inability to access the material documents

comprising Mr. Jarvis’ case.

        2.      Mr. Jarvis’ defense team cannot independently access documents. Appointed

Counsel for Mr. Jarvis and his law clerk are located respectively in Ruidoso, Albuquerque

and Santa Fe, New Mexico. The geographic breadth of the state of New Mexico makes it

impossible to timely share documents amongst the three counsels other than electronically

or by fax. The inadequacy of relying on faxing of court orders to the exclusion of counsel

docket access is illustrated through the fax service of Docs. 1215 and 1216- counsel’s fax

machine ran out of toner mid-way through fax service at 4:46 p.m. so counsel did not, in

fact, receive service of the orders the date filing and service reflect on the docket. Counsel’s

immediate contact to chambers for an emailed pdf version of the document was never acted

upon, such that “in-fact,” Mr. Jarvis was not served February 7, 2008. Without electronic

docket access, Mr. Jarvis’ counsel could not otherwise avail themselves even of “self-service”

of notice by accessing the electronic docket, rendering Mr. Jarvis with neither actual nor

constitutionally adequate service.

        3.      Mr. Jarvis’ ex parte filing regarding government witness Robert Gorence was

not served through the electronic system on Mr. Gorence, so Mr. Jarvis himself made

belated hand service to rectify the system failure when the error came to light. See T.P.

11/20/07 (Magistrate J. Garcia), at 4:22- 5:2.

        4.      Mr. Jarvis’ ex parte filing seeking appointment of an outside expert was open

on the docket and the United States viewed it, although the United States immediately made

proper notice on Mr. Jarvis of the docketing error. That bell was rung, however, and the




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United States became privy to defense strategy, although Mr. Jarvis is at present unaware of

any improper use of such knowledge by the United States as to this filing.

        5.      The colloquy with the Court at the November 20, 2007 hearing begs the

question as to whether all documents which should be considered at counsel’s urging on Mr.

Jarvis’ behalf, are actually being considered. T.P.       11/20/07 at pp. 14-16. The Court

requested pleadings titles which reflect enough information for the court to identify the

document whether or not counsel was able to access the docket number reflecting the

document to which court attention was to be directed. While seemingly a reasonable

suggestion, this too is inoperable as document titles which reflect confidential document

content are not being uniformly protected- as with the entry on today’s docket at 1225 and

service of this notice on counsel without a “need to know.”

        The United States has been contacted and takes no position on the relief requested,

with the caveat that the United States opposes blanket access by Mr. Jarvis to all sealed

pleadings “affecting” him.

                                           Conclusion

        It is fundamental that an accused be prosecuted in proceedings where he has access

to all the documents filed against him, and relative to him in the preparation of his own

defense.     Such fundamental procedural protection is lacking herein, despite counsels’

repeated attempts to rectify the matter.

        Undersigned counsel request immediate electronic access to every sealed document

filed in this proceeding to which Mr. Jarvis is a party, as the filer, joiner, responding party or

as a party whose rights are affirmed, denied or altered by the Court Order. Counsels further

request accessibility to an electronic docket which accounts for all docket entries, while

maintaining confidentiality of the contents of each entry which is material only to Mr. Jarvis.



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Counsels also request formal electronic service through the ECF system to themselves and

only to other counsel and parties upon a “need to know” basis, such that confidential

matters are not inappropriately exposed, and such that all parties constitutionally entitled to

document service and access, receive such verifiable service.

        Such immediate action by the Court is required to protect the Defendant’s various

constitutional rights currently in degradation, the defendant’s rights to due process, to a

fundamentally fair proceeding, and his Sixth Amendment right to present his defense.

                                                        Respectfully submitted by:



                                                        Electronically Filed
                                                               /s/
                                                               February 21, 2008
                                                        By_______________________
                                                        Gary Mitchell, Esq.
                                                        P.O. Box 2460
                                                        Ruidoso, NM 88355-2460
                                                        575.257.3070



                                                        Electronically Filed
                                                               /s/
                                                               February 21, 2008
                                                        By_______________________
                                                        Jody Neal-Post, Esq.
                                                        317 Amherst SE
                                                        Albuquerque, NM 87106
                                                        505.268.7263

I hereby certify that a true and correct copy of
the foregoing pleading was delivered to opposing
counsel via the CM/ECF system this 21st of February, 2008.

Electronically Filed
____________________________________
Jody Neal-Post




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